                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

    UNITED STATES OF AMERICA                        )
                                                    )       NO. 3:21-cr-00064
    v.                                              )
                                                    )       JUDGE CAMPBELL
    CYDOKSO SAPP                                    )

                                   MEMORANDUM AND ORDER

                                       I.      INTRODUCTION

           Pending before the Court is Defendant’s Motion to Suppress Evidence. (Doc. No. 28). The

Government responded to the motion. (Doc. No. 30). On October 6, 2021, the Court held a hearing

on the motion. (Doc. No. 35; Trans., Doc. No. 43). The parties then filed post-hearing briefs. (Doc.

Nos. 41, 42).

           On October 29, 2019, police searched Defendant’s car and apartment and found firearms,

ammunition, drugs, cash, and other evidence. Defendant contends the searches were without

probable cause and seeks to suppress all evidence obtained from the searches.

                                             II.    FACTS1

           On October 25 and 29, 2019, as part of an investigation into a drug trafficking organization,

agents of the Clarksville Police Department conducted surveillance on an apartment in Clarksville,

Tennessee (the “Apartment”), believed to be the residence of the Defendant Cydokso Sapp. (Doc.

No. 33; Hearing Trans., Doc. No. 43 at 7-8). On October 25, 2019, agents saw Defendant engage

in what they believed to be narcotics transactions. (Hearing Trans., Doc. No. 38 at 8).



1
        The facts are drawn from the testimony and evidence presented during the hearing held on October
6. 2021 (Trans., Doc. No. 43), a body camera video of arrest (Doc. No. 30, Ex. 2 (manually filed)), and the
search warrant and warrant affidavit (Doc. No. 33).




         Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 1 of 14 PageID #: 260
       The first suspected transaction took place in the parking lot of a near-by gas station. (Doc.

No. 33). Agents observed a white Nissan Altima that had been parked in front of the Apartment

drive to a gas station and park next to another vehicle, a Dodge Ram. (Id.). Agents observed a

person later identified as David Marshall leave the Nissan Altima, get into the Dodge Ram and

drive away. (Id.). One of the agents, Agent Joshua Smith, followed the Dodge Ram and pulled it

over for a traffic infraction. (Id.). During the stop, Marshall told Agent Smith that he had a gram

of cocaine that he purchased from a black male named “Cy” in the white Nissan. (Id.). He stated

that he had called “Cy” at a specified phone number to arrange the purchase. (Id.). Marshall

identified the Defendant from a photograph as the person who sold him the cocaine. (Id.).

       While Agent Smith followed the Dodge Ram, another agent, Agent Will Evans, followed

the Nissan Altima back to the Apartment. (Id.). Agent Evans observed Defendant use a key to

unlock the front door to the Apartment. (Id.).

       Later that day, Agent Matthew Ferrell observed Ralph Lakine drive to the Apartment in a

blue Chevrolet Cobalt registered to a different individual. (Id.). Lakine entered the Apartment,

remained there for an unspecified amount of time, and then left the Apartment and drove to a

McDonalds. (Id.). Through a search of police records and databases, agents learned Lakine was a

suspect in a drug complaint and was driving on a revoked license. (Id.). Agents took Lakine into

custody for driving on a suspended license. (Id.). A search of his person and vehicle revealed a

bag of cocaine and two bags of marijuana. (Id.).

       Agents surveilled the Apartment again a few days later on October 29, 2019. (Id.). They

had learned that Defendant had two prior drug convictions in 2005 and 2012 and an active warrant

for simple possession. (Id.; Hearing Trans., Doc. No. 38 at 8-9). They observed Defendant leave

the Apartment in a different car – a blue Kia sedan – and drive less than five minutes to a nearby


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   Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 2 of 14 PageID #: 261
package store. (Hearing Trans., Doc. No. 38 at 11). Defendant parked the Kia and entered the

package store, leaving the keys in the ignition, the engine running, and the car unlocked. (Id. at

13-15). As Defendant exited the package store, agents arrested him on the outstanding warrant.

(Id. at 12). The agents placed Defendant in handcuffs and conducted a search of his person. (Id.).

Agent Smith testified that he “smelled the odor – a distinct odor of marijuana coming from his

person.” (Id.). Agents did not find any marijuana, marijuana paraphernalia, or anything else that

could have been the source of the odor on Defendant. (Id. at 14).

       One of the arresting agents was wearing a body camera, the footage from which has been

filed with the Court. (Doc. No. 30, Ex. 2 (manually filed) (the “Video”)). The Video footage shows

Agent Smith say, “We can search his car, he’s got the smell of odor of marijuana on him.” (Id. at

2:15). Agent Smith asked Defendant: “Is there anything illegal in your car, Mr. Sapp?” (Id. at

2:25). Defendant responded, “I don’t have no smell of marijuana on me.” (Id.). Agents then placed

Defendant in the back of a patrol car. (Hearing Trans., Doc. No. 38 at 14). After they could not

find keys to the car in the property collected from Defendant, Agent Smith returned to the patrol

car, searched Defendant’s person again, and asked, “Where are the keys at, brother? They keys to

your car.” (Video at 3:10). Defendant responded, “I don’t have no car.” (Id.). Agent Smith asked,

“You don’t have a car?” Defendant stated, “Naw.” (Id).

       At that point, the agents realized that the car was unlocked, and running, and the keys were

inside. (Hearing Trans., Doc. No. 38 at 15). Agent Smith explained that although he was asking

for the keys because he intended to search the car, even if he had not intended to search the car,

agents needed to locate the keys to secure the vehicle. (Id. at 16, 26). Pursuant to department

policy, because the vehicle was not unlawfully parked, they would have locked the car and taken

the keys to prevent someone from stealing it. (Id.).


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   Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 3 of 14 PageID #: 262
         Agents searched the car and found a loaded Masterpiece Arms 9mm pistol under a

sweatshirt on the front passenger seat, marijuana residue (described by Agent Smith as “a flake”),

and $924 in cash. (Id. at 32; Doc. No. 30-1). Agent Smith testified they searched the car because

“the source of the smell of marijuana could have very well been inside that vehicle.” (Hearing

Trans., Doc. No. 38 at 15).

         That evening, agents obtained a warrant to search the Apartment. (Doc. No. 33). As

discussed in further detail below, the search warrant affidavit detailed the two suspected drug

transactions on October 25, 2019, the discovery of the firearm and marijuana residue in the blue

Kia, and Defendant’s prior drug-related convictions in 2005 and 2012. (Id.). In the Apartment,

agents found contraband including fentanyl, cocaine, and additional firearms.

                                       III.   ANALYSIS

         Defendant seeks to suppress evidence obtained from the car and the Apartment on grounds

that neither the warrantless search of the car, nor the warrant to search the Apartment, was

supported by probable cause.

         The United States argues the vehicle search was permissible under the automobile

exception, but that Defendant does not have standing to contest the search because he disavowed

any ownership interest in the vehicle when he answered, “I don’t have no car,” when asked where

the keys to his car were. With regard to the search warrant, the Government argues that, even if

the search of the vehicle was unlawful and the information regarding the firearm and marijuana

residue found in the vehicle are excluded from consideration, the warrant is supported by probable

cause.




                                                4

   Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 4 of 14 PageID #: 263
A.        The Car Search

          1. Standing

          As an initial matter, the Government argues Defendant lacks standing to assert a Fourth

Amendment challenge to the search of the vehicle because he allegedly disclaimed any interest in

it when he said, “I don’t have no car,” when officers asked him where the keys were. The

Government argues that, through his statement, “I don’t have no car,” Defendant effectively

disavowed any interest in the vehicle and forfeited any legitimate expectation of privacy in its

search.

          “[T]he Government has the burden of establishing by a preponderance of the evidence that

a ‘defendant’s voluntary words or conduct would lead a reasonable person in the searching

officer’s position to believe that the defendant relinquished his interests in the item searched and

seized.” United States v. Eden, 190 F. App’x 416, 423 (6th Cir. 2006). In support of its argument

that Defendant disclaimed any privacy interest in vehicle, the Government cites two Sixth Circuit

cases in which persons who disavowed ownership in luggage subsequently searched by police

forfeited standing to contest the search. See United States v. Frazier, 936 F.2d 262, 264-65 (6th

Cir. 1991); United States v. Tolbert, 692 F.2d 1041, 1045 (6th Cir. 1982).

          In Frazier, the defendant’s traveling companion placed a bag on the floor at the airport.

Frazier, 936 F.2d at 263. Both defendant and the companion walked away from the bag. Id. When

later asked by officers if the bag was his, the defendant said it was not. Id. He repeated this

disclaimer again during questioning in an interrogation room, and he signed a form consenting to

a search of the bag. Id. Under these circumstances, the Frazier court held the defendant did not

have a legitimate privacy interest in the bag and lacked standing to challenge its search. Id. at 265.

          Tolbert involved a similar situation in which officers searched a suitcase left by the


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     Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 5 of 14 PageID #: 264
defendant at the airport baggage claim. Tolbert, 692 F.2d at 1043-45. When initially questioned

by agents outside the airport terminal, the defendant, who had removed the baggage claim ticket

from her ticket folio, denied having any luggage. Id. at 1043. The defendant then returned to the

terminal for further questioning. Id. Agents brought the unclaimed luggage to the airport DEA

office and the defendant again denied ownership of the luggage. Id. at 1044. The court held the

Tolbert defendant had no reasonable expectation of privacy in luggage of which she specifically

and vigorously disclaimed ownership. Id. at 1045.

       Here, the Court cannot conclude that through his statement – “I don’t have no car” –

Defendant forfeited a legitimate expectation of privacy in the vehicle. Neither the question

(“Where are the keys at, brother?”) nor the response (“I don’t have no car”) would have led a

reasonable person to believe Defendant abandoned his interest in the vehicle. Agent Smith did not

ask Defendant about a specific vehicle, or request consent to search the vehicle in question. He

asked generally, “Where are the keys at, brother?” Without further inquiry, Agent Smith’s follow-

up question, “You don’t have no car?” does not add support the Government’s abandonment

theory. Indeed, Agent Smith did not claim to believe Defendant disclaimed any interest in the

vehicle. He stated that he searched the vehicle because he had probable cause to do so based on

the odor of marijuana on Defendant’s person. (Hearing Trans., Doc. No. 38 at 36).

       Under these circumstances, the Court finds Defendant did not relinquish a legitimate

expectation of privacy in the vehicle and has standing to contest its search. In light of this

conclusion, the Court need not reach the question of whether Agent Smith asking Defendant about

the car keys was a Miranda violation.




                                               6

   Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 6 of 14 PageID #: 265
       2. Automobile Exception

       Generally, warrantless searches are deemed unreasonable under the Fourth Amendment,

subject to certain exceptions. See United States v. Hockenberry, 730 F.3d 645, 658 (6th Cir. 2013)

(citing Arizona v. Gant, 556 U.S. 332, 338 (2009)). The Government argues the search was

permissible under the automobile exception, which allows officers to search a vehicle without a

warrant if they have “probable cause to believe that the vehicle contains evidence of a crime.”

United States v. Galvez, 645 F.3d 347, 355 (6th Cir. 2011). “[P]robable cause exists when there

is a fair probability, given the totality of the circumstances, that contraband or evidence of a crime

will be found in a particular place.” See United States v. James, 575 F. App’x 636, 639 (6th Cir.

2014) (quoting United States v. Helton, 314 F.3d 812, 819 (6th Cir. 2003)).

       Agent Smith testified that he believed there was probable cause to search the vehicle

because Defendant had the odor of marijuana emanating from his person at the time of arrest, the

source of the odor (marijuana or marijuana paraphernalia) was not found on the Defendant, leading

him to believe the source of the odor or evidence of marijuana use would be found in the vehicle.

(Hearing Trans., Doc. No. 38 at 46). The Government acknowledges that the odor of marijuana

on the driver of a vehicle does not necessarily give rise to probable cause to search the vehicle.

Indeed, “although [the Sixth Circuit] has long recognized that the odor of marijuana emanating

from a vehicle can establish probable cause to believe there is marijuana in the vehicle, Sixth

Circuit precedent has not established that the smell of marijuana on the driver of a vehicle can give

rise to probable cause to search the vehicle for marijuana.” James, 575 F. App’x at 639.

       In James, the odor of marijuana on the defendant’s person was one of many factors

contributing to probable cause to search the vehicle he has just exited. Id. at 640. The James court

noted that the odor of marijuana “was not sufficient on its own to provide probable cause to search


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    Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 7 of 14 PageID #: 266
the vehicle,” but found additional circumstances supported the officers’ assessment that marijuana

would be found in the vehicle. Id. These additional circumstances included the defendant’s

attempt to flee and elude police during an attempted traffic stop, the strong odor of marijuana on

defendant’s person within seconds of exiting his vehicle, and that a search of the defendant

revealed no marijuana or marijuana paraphernalia. The court concluded that, based on these

circumstances, there was a fair probability that marijuana would be found in the vehicle the

defendant had just exited. Id.

       Here, Agent Smith testified that he believed he had probable cause to search the car because

Defendant had the odor of marijuana coming from its person. (Hearing Trans., Doc. No. 38 at 36).

As additional factors supporting probable cause, the Government cites the two suspected narcotics

transactions a few days earlier, Defendant’s prior drug convictions, that the vehicle to be searched

was a rental car, and that the agents did not find any marijuana or paraphernalia on his person.

Government argues that even if Defendant’s “arguably evasive” statement – “I don’t have no car”

– is removed from the totality of the circumstances probable cause analysis, agents had sufficient

facts to suggest there was a fair probability that marijuana or other contraband would be found in

the vehicle.

       The Court disagrees. Even considering these additional circumstances, they do not give

rise to a fair probability that the vehicle contained marijuana or marijuana paraphernalia. Here, at

least three officers followed Defendant during the approximately five-minute drive from the

Apartment to the package store. None of the officers observed Defendant smoking in the vehicle

or any other evidence that Defendant was smoking in the vehicle. Unlike in James, Agent Smith

did not detect the odor of marijuana on Defendant “within seconds” of him exiting the vehicle.

Defendant left the car and was in the store for about five minutes before Agent Smith declared


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   Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 8 of 14 PageID #: 267
Defendant smelled of marijuana and they could search his car. The court also notes that while the

defendant in James had the “strong odor” of marijuana on his person, there was no testimony in

this case about the pungency of the odor. There is no reasonable basis to conclude Defendant was

smoking marijuana in the car on his way to the package store or any other reason to believe the

source of the odor would be found in the car.

       The circumstances tying the vehicle to the suspected drug transactions allegedly involving

Defendant are equally unavailing. Other than the fact that these suspected drug transactions

involved the Defendant, they have no connection to the car he was driving the day of his arrest

several days later. Indeed, the only time Defendant was observed in the Kia was during the five-

minute drive from the Apartment to the package store. Viewed as a whole, the circumstances do

not establish probable cause search the vehicle. There is no reason to believe Defendant was

smoking marijuana in this vehicle or conducting narcotics transactions from this vehicle such that

there was a fair probability that the vehicle contained marijuana or marijuana paraphernalia.

       The exclusionary rule prohibits the Government from introducing at trial any evidence

secured through an unlawful search. See Mapp v. Ohio, 367 U.S. 643, 656 (1961). Accordingly,

for the reasons stated above, the motion to suppress evidence obtained from the vehicle search will

be granted.

B.     Search of the Apartment

       Unlike the search of the vehicle, agents obtained a warrant to search the Apartment. (See

Doc. No. 33). The Fourth Amendment requires that a search warrant is supported by probable

cause. U.S. Const. Amend. IV. To demonstrate probable cause to justify the issuance of a search

warrant, an affidavit must contain sufficient facts that indicate a fair probability that evidence of a

crime will be found at the place to be searched. United States v. Moore, 999 F.3d 993, 996 (6th


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     Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 9 of 14 PageID #: 268
Cir. 2021). “With great deference to the issuing judge’s determination, federal courts examine the

affidavit’s four corners to determine whether, under the totality of the circumstances, the low bar

of probable cause has been overcome.” Id. The affidavit must adequately describe a “nexus

between the place to be searched and the evidence sought.” United States v. Carpenter, 360 F.3d

591, 594 (6th Cir. 2004). Where, as here, the warrant application is supported, in part, with

information unlawfully obtained, the Court must determine whether probable cause existed

without the unlawfully obtained information. United States v. Chapman-Sexton, 758 F. App’x 437,

440 (6th Cir. 2018) (evidence obtained pursuant to a search warrant that relies, in part, on

unlawfully obtained information may nevertheless be admissible “[i]f the application for a warrant

contains probable cause apart from the improper information.” (quoting United States v. Jenkins,

396 F.3d 751 (2005)).

       “[T]o establish probable cause for a search, an affidavit must show a likelihood of two

things: first, that the items sought are ‘seizable by virtue of being connected with criminal activity’;

and second, ‘that the items will be found in the place to be searched.’” United States v. Abernathy,

843 F.3d 243, 249 (6th Cir. 2016) (quoting United States v. Church, 823 F.3d 351, 355 (6th Cir.

2016)). “The nexus between ‘criminal activity’ and the item to be seized is ‘automatic[]’ when

the object of the search is contraband.’” Id.

       The state court judge issued a warrant to search the Apartment for evidence of the following

crimes: money laundering in violation of Tenn. Code Ann. § 39-14-901, and felon in possession

of a firearm in violation of Tenn. Code Ann. § 39-17-1307.

       As an initial matter, the Court will address Defendant’s suggestion that because the warrant

finds probable cause to search for evidence of money laundering and illegal possession of firearms,

the inquiry must focus specifically on probable cause for those crimes rather than drug trafficking.


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   Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 10 of 14 PageID #: 269
(See Doc. No. 28 at 6). Where the warrant affidavit contains facts to support probable cause that

contraband – here illegal narcotics and firearms – will be found at a location, it does not matter

whether the police suspected the defendant of drug trafficking, money laundering, or some other

crime. See United States v. Church, 823 F.3d 351, 354-55 (6th Cir. 2016) (rejecting the defendant’s

argument that warrant was defective because it was issued pursuant to an affidavit that established

probable cause for the wrong crime).

       The case relied upon by Defendant does not mandate a different result. In United States v.

Hodson, 543 F.3d 286, 292 (6th Cir. 2008), the court held that evidence of child molestation alone

did not establish probable cause to believe the contraband sought – child pornography – would be

present on the premises. Hodson, therefore, stands for the uncontroversial rule that there must be

probable cause to believe the contraband specified in the warrant would be found at the premises

to be searched. Id. at 293. Here the question is whether the facts submitted in support of the warrant

application establish probable cause to believe the contraband sought – including illegal drugs and

firearms – would be found at the Apartment.

       The affidavit in support of the search warrant states that the police conducted surveillance

of the Apartment on October 25, 2019, during which they observed two suspected drug

transactions involving Defendant. The following details were provided in the warrant application.

(See Doc. No. 33). The first suspected transaction involved Defendant leaving the Apartment,

driving to a gas station for the transaction, and returning to the apartment. Specifically, the warrant

affidavit states that agents observed a while Nissan Altima parked outside the Apartment. The

Nissan drove to a gas station parking lot and parked next to a Dodge Ram. Officers observed a

while male exit the Nissan and enter the Dodge Ram. They followed the Dodge Ram from the

parking lot and initiated a traffic stop. A search of the vehicle revealed cocaine, marijuana oil, and


                                                  11

   Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 11 of 14 PageID #: 270
a pipe. The driver of the Dodge Ram, David Marshall, told police that he had contacted Defendant

to arrange a purchase of a gram of cocaine at the gas station. He stated the person from whom he

purchased the cocaine was named “Cy” and identified the Defendant from a photo. Another officer

followed the Nissan Altima back to the Apartment. The officer observed a black male driver

believed to be Defendant and saw him use a key to open the door to the Apartment.

       The second transaction is suspected to have taken place in the Apartment. The warrant

application states that agents observed Ralph Lakine enter the Apartment. A records search

revealed Lakine was driving on a revoked license and was named in a drug complaint. An Agent

followed Lakine to a McDonalds. When he was taken into custody for driving on a revoked license,

agents found 100 grams of cocaine and two bags of marijuana on his person.

       A few days later, on October 29, 2019, police again conducted surveillance on the

Apartment. By this time, they had learned the Defendant had prior drug convictions from 2012

and 2005 and an outstanding warrant for simple possession. Agents observed Defendant leave the

Apartment in a blue Kia sedan and drive to a nearby package store, where they arrested him on the

outstanding warrant as he exited the store. The arresting agent smelled the odor of marijuana on

Defendant’s person.

       The warrant affidavit stated that, based on the investigation, it was believed the Defendant

is a drug dealer and resides at the Apartment and that the Apartment will have evidence related to

narcotics trafficking and firearm possession. The warrant application included statements that,

based on the experience and training of the testifying agent, drug dealers will often hide contraband

and proceeds of drug sales in their residences, and commonly have firearms in their possession or

residences.




                                                 12

   Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 12 of 14 PageID #: 271
       Defendant disputes that these facts are sufficient to tie the Defendant or the Apartment to

suspected drug trafficking. He notes that the affidavit shows only two suspected drug transactions

and argues that neither of these incidents establishes that Defendant sold drugs. He characterizes

the incidents as showing “merely that a person possessed a personal-use quantity of drugs shortly

after being in or near [the] Apartment” or the Defendant.

       Defendant also contends David Marshall, who claimed to have purchased cocaine from

Defendant in the gas station parking lot, was “evidently lying” about having met Defendant there

to purchase cocaine because the police report did not give every detail of their interaction at the

gas station parking lot. Specifically, Defendant contends that because the affidavit only stated that

Marshall walked from the Nissan occupied by Defendant to the Dodge and did not specifically

state that Marshall arrived separately and walked from the Dodge to the Nissan before returning

to the Dodge and driving away, Marshall must have been lying about meeting Defendant at the

gas station to buy cocaine.

       The Sixth Circuit prohibits this sort of hyper-technical reading of the search warrant

application. United States v. Woolsey, 361 F.3d 924, 926 (6th Cir. 2004). Affidavits are not held

to an “exacting degree of specificity,” and need only “allege facts that create a reasonable

probability” that the Defendant engaged in the alleged conduct. See United States v. Christian, 925

F.3d 305, 310 (6th Cir. 2019). A commonsense reading of the warrant application indicates that

Marshall identified Defendant as the person who sold him cocaine. While is it theoretically

possible that Marshall was lying, the Court notes that his statement is consistent with the agents’

observations. Moreover, the search warrant application is not read piecemeal, but as a whole. Id.

(noting that “[w]hen it comes to probable cause, “the whole is often greater than the sum of its

parts – especially when the parts are viewed in isolation”) (quoting District of Columbia v. Wesby,


                                                 13

   Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 13 of 14 PageID #: 272
138 S.Ct. 577, 588 (2018)).

       With regard to the nexus between the evidence sought and the place to be searched, the

Court finds that the facts in the warrant affidavit establish a nexus between the evidence sought –

drugs, firearms, and other evidence of drug dealing – and the Apartment. Defendant was observed

going to and from the Apartment, used a key to let himself into the Apartment, and on at least one

occasion was suspected of selling cocaine from the Apartment. See United States v. Miller, 850 F.

App’x 370 (6th Cir. 2021) (noting that the Sixth Circuit has “repeatedly held that probable cause

exists to search a residence for drug-related evidence when a drug dealer travels directly from that

residence to the site of a drug deal”).

       Taken as a whole, the totality of the circumstances, even after excising the evidence found

in the Kia following Defendant’s arrest, establishes a fair probability that the drugs or evidence of

drug dealing, including firearms, would be found inside the Apartment.

                                      IV.    CONCLUSION

       For the reasons stated above, the Motion to Suppress Evidence is GRANTED in part, and

DENIED in part. The motion is granted with regard to the evidence seized from the vehicle.

Accordingly, the firearm and evidence of marijuana residue from the vehicle will be suppressed.

The motion is denied with regard to the evidence seized from the apartment pursuant to the search

warrant.

       It is so ORDERED.




                                                      _______________________________
                                                      WILLIAM L. CAMPBELL, JR.
                                                      UNITED STATES DISTRICT JUDGE



                                                 14

   Case 3:21-cr-00064 Document 44 Filed 12/02/21 Page 14 of 14 PageID #: 273
